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UNITED sTATEs oF AMERICA j "“"'J'P'WS
Plaintiff,

vs. cR. No. 05-20095-M1

REHIA BARTON
Defendant.

»

ORDER ON CH.ANGE OF PLEA

 

This cause came on to be heard on.August B, 2005, the United States
Attorney for this district, Tony'Arvin, appearing for the Government and
the defendant, Rehia Barton, appearing in person and with counsel,
Sheila Brown, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count 2 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this case is SET for FRIDAY, NOVEMBER 4, 2005, at
9:00 a.m., before Judge Jon Phipps McCalla.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this the £5 day of Auguet, 2005.

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JO PHIPPS McCALLA
ITED STATES DISTRICT COURT

 

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Honorable Jon McCalla
US DISTRICT COURT

